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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                                     )  Criminal No. 16-10343-ADB
v.                                   )
                                     )
MICHAEL L. BABICH, et al.,           )
                                     )
            Defendants.              )
____________________________________)

                                    SCHEDULING ORDER

                                        October 22, 2018

Boal, M.J.

       Upon consideration of the parties’ proposals during the October 19, 2018 status

conference, it is hereby ORDERED:

       1.      The government shall provide a supplemental response on any unresolved

categories of agency records by October 26, 2018.

       2.      The government shall produce agency records on a rolling basis and complete the

production by November 16, 2018.

       3.      The government shall provide a privilege log for any documents withheld on

privilege grounds by November 30, 2018.

       4.      The defendants shall file their motion for a bill of particulars by October 23,

2018. The government shall file its opposition to the defendants’ motion for a bill of particulars

by October 30, 2018. The Court will hear oral argument on November 5, 2018 at 2:00 p.m.

                                               /s/ Jennifer C. Boal
                                             JENNIFER C. BOAL
                                             UNITED STATES MAGISTRATE JUDGE



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